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September 6, 2023

BY ECF

Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

            Re:       No. 22-11036, The Charitable DAF Fund, et al. v. Highland Capital
                      Management, (heard September 5, 2023, before Circuit Judges Dennis,
                      Engelhardt, and Oldham)

Dear Mr. Cayce:

       I write on behalf of Appellee Highland regarding the impact of Goodyear Tire &
Rubber Co. v. Haeger, 581 U.S. 101 (2017), on this Court’s case law awarding fees for
sanctioned conduct. The parties’ briefs cited Goodyear, but no party suggested that pre-
Goodyear decisions of this Court lack binding effect after Goodyear. A Member of this
Court suggested that possibility for the first time at oral argument.

        In Goodyear, the Court held that a compensatory civil sanction may award only
fees that “would not have [been] paid but for the [other party’s] misconduct.” 581 U.S. at
109. The Ninth Circuit’s holding below, which the Court reversed, allowed fees to be
awarded “without any need to find a causal link between [fees incurred and] the
sanctionable conduct.” Id. at 106.

        Goodyear is entirely consistent with Fifth Circuit case law. This Court has always
required a causal connection between sanctions awarded and the sanctioned conduct. See,
e.g., Cook v. Ochsner Found. Hosp., 559 F.2d 270, 272 (5th Cir. 1977) (compensatory
award includes “attorneys’ fees necessarily expended in bringing an action to enforce that
order violated by the disobedient parties” (cleaned up)). That remains this Court’s
approach. Ravago Americas LLC v. Vinmar International reiterated that, for a “sanction to
be compensatory, it must be measured in some degree by the pecuniary injury caused by
the act of disobedience.” 832 F. App’x 249, 255 (5th Cir. 2020) (cited by the district court’s
opinion at nn.75, 81). Though unpublished, Ravago relied on Supreme Court and Fifth


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Circuit precedent that Goodyear did not disturb. See id. at 254-55 (citing Gompers v.
Buck’s Stove & Range Co., 221 U.S. 418, 444 (1911); In re Bradley, 588 F.3d 254, 263
(5th Cir. 2009)).

        The courts below found appropriate causation here and awarded fees for only
expenses incurred in pursuing the contempt motion. That included discovery and trial
proceedings about who was responsible for violating the bankruptcy court’s orders—none
of which would have been necessary had Appellants complied with those orders. Cook,
cited above, is a published and therefore binding opinion supporting that approach, and
undisturbed by Goodyear.

                                           Respectfully submitted,



                                           Roy T. Englert, Jr.

cc: Counsel of Record (via ECF)




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